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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
MARSHALL DIVISION

PLANO ENCRYPTION
TECHNOLOGIES, LLC

PLAINTIFF

CIVIL ACTION NO. 2:15-CV-1273-JRG
LEAD CASE

V
AMERICAN BANK OF TEXAS, ET AL.

DEFENDANT.

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MEDIATOR’ S REPORT

In accordance With the Court’s Order, a mediation conference was held on August 25,
2016. After follow-up, this matter has settled. All parties and counsel were present

Note from the Mediator (if any):

 

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signedthis 5/ d _ 745/5 4 2016.

  
   

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H n"'MartHi, Assigned Mediator

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CE_RTIFICATE OF SERVICE
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I hereby certify that on this ‘§/ day of '://,’ J,/J(-j / , 2016 I electronically
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submitted the foregoing document With the clerk of the court for the U.S. District Court, Eastem

District of Texas.

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Judy Stephg,rhson, Case Manager

